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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT LLC, and
 ELLIOTT BROIDY,
                                                            Civil Action No.: 1:19-cv-00150 (DLF)
                                Plaintiffs,

                         v.

  NICOLAS D. MUZIN, JOSEPH ALLAHAM,
  GREGORY HOWARD, and STONINGTON
  STRATEGIES LLC,

                                Defendants.


                 MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

         Pursuant to LCvR 83.2(d), Charles S. Fax, a partner in the law firm of Rifkin Weiner

Livingston, LLC, with offices at 7989 Old Georgetown Road, Suite 400, Bethesda, Maryland

20814, as counsel for Defendant Gregory Howard (“Howard”), respectfully moves the admission

pro hac vice of attorney Jacob Gardener as co-counsel for Howard. In support thereof, Mr. Fax

states as follows:

         I was admitted to practice before the District of Columbia Court of Appeals on October 16,

1974, and the United States District Court for the District of Columbia on November 4, 1974. My

D.C. Bar Number is 198002. I am currently an active member in good standing of the Bar of this

Court.

         In support of this motion, I attach hereto the Declaration of Jacob Gardener.

         Counsel for Plaintiffs Broidy Capital Management LLC and Elliott Broidy have indicated

that they have no objection to this motion.

         Based on the foregoing, I respectfully move the admission of Jacob Gardener pro hac vice,

as co-counsel to Defendant Howard.

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                                         Respectfully submitted,


Dated: November 16, 2021.                ________________________________
                                         Charles S. Fax
                                         D.C. Bar No. 198002
                                         Rifkin Weiner Livingston, LLC
                                         7979 Old Georgetown Road, Suite 400
                                         Bethesda, Maryland 20814
                                         Tel.: (301) 951-0150
                                         Email: cfax@rwllaw.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2021, I filed a copy of the foregoing through the

Court’s CM/ECF system, thereby serving all parties electronically.




                                                           ____________________
                                                           Charles S. Fax
